     Case 2:16-cr-00052-GMN-CWH             Document 269    Filed 01/30/18   Page 1 of 5



 1     JOHN G. GEORGE, ESQ.
       Nevada Bar No. 12380
 2     LAW OFFICE OF JOHN GEORGE
       820 s 7TH Street, Suite B
 3     Las Vegas, Nevada 89101
       Telephone: (702) 561-7855
 4     Facsimile: (702) 446-1577
       E-mail: johngeorgejr@fastmail.fm
 5     Attorney for Defendant
       RONALD SMITH
 6

 7

 8                                     UNITED STATES DISTRICT COURT
 9
                                           DISTRICT OF NEVADA
10

11

12     UNITED STATES OF AMERICA,                      CASE NO. 2:16-cr-00052-GMN-CWH

13                        Plaintiff,

14     V

15     RONALD REAGAN SMITH,

16                       Defendant.

17

18
                              STIPULATION TO CONTINUE SENTENCING
19
                                               (Second Request)
20
              IT IS HEREBY STIPULATED AND AGREED between the parties, Dayle Elieson,
21

22     United States Attorney for the District of Nevada; Phillip Smith, Assistant United States

23     Attorney, counsel for the United States; and John G. George, counsel for Ronald Reagan Smith;
24     that this Court issue an Order continuing the sentencing of Ronald Reagan Smith. The attorney
25
       for the United States, the Defendant and his counsel, all approve of this request to continue
26
       sentencing.
27
       The parties state as follows:
28
     Case 2:16-cr-00052-GMN-CWH            Document 269        Filed 01/30/18     Page 2 of 5



 1        1) The presently scheduled day for sentencing is February 1, 2018 at 9:00 a.m.
 2        2) Counsel ordered a transcript of the hearing in which Mr. Smith accepted his plea, and that
 3
              transcript has not yet arrived. Counsel would like time to review that transcript with Mr.
 4
              Smith, as well as the recommendations from the Department of Parole and Probation in
 5
              the amended PSR from the Department of Parole and Probation.
 6

 7        3) Counsel for Mr. Smith conferred with counsel for the United States and counsel for the

 8            United States does not oppose this request.

 9        4) Counsel for Mr. Smith is requesting two weeks continuance.
10        5) A denial of this request could result in a miscarriage of justice.
11
          DATED this 25th day of January, 2018.
12

13
       Respectfully submitted:
14

15     _/s/_Philip Smith_
        PHILLIP SMITH, ESQ.
16     Counsel for the United States
       Assistant United States Attorney
17
       /s/ _John G. George__
18     JOHN G. GEORGE, ESQ.
       Counsel for Defendant
19
       Ronald Smith
20

21

22

23

24

25

26

27

28

                                                     -2-
     Case 2:16-cr-00052-GMN-CWH             Document 269       Filed 01/30/18      Page 3 of 5



 1

 2     JOHN G. GEORGE, ESQ.
       Nevada Bar No. 12380
 3     LAW OFFICE OF JOHN GEORGE
       820 S 7th Street Suites B
 4     Las Vegas, Nevada 89101
       Telephone: 702-561-7855
 5     Facsimile: 702-446-1577
       E-mail: jggeorgelaw@gmail.com
 6     Attorney for Defendant
       RONALD REAGAN SMITH
 7

 8                                     UNITED STATES DISTRICT COURT
 9
                                           DISTRICT OF NEVADA
10

11

12     UNITED STATES OF AMERICA,                        CASE NO. 2:16-CR-00052-GMN-CWH

13                        Plaintiff,
                                                      FINDINGS OF FACT CONCLUSIONS
14     V.                                                 OF LAW AND ORDER

15     RONALD REAGAN SMITH,

16                       Defendant.

17

18                                           FINDINGS OF FACT

19     Based on the pending Stipulation of counsel, and good cause appearing therefore the Court finds:

20     that:

21             1. On February 1, 2018, Ronald Reagan Smith is scheduled to be sentenced.

22             2. Counsel for the United States, AUSA Phillip Smith, and counsel for Ronald Reagan

23                Smith conferred and all agree to continue the sentencing for the short time requested,
24
                  e.g. two weeks.
25
               3. Counsel for Mr. Smith makes this request in order to review a transcript and the
26
                  amended PSR with Mr. Smith when they become available.
27
               4. A denial of this continuance could result in a miscarriage of justice as doing so could
28

                                                      -3-
     Case 2:16-cr-00052-GMN-CWH           Document 269        Filed 01/30/18     Page 4 of 5



 1                result in Mr. Smith being unprepared for sentencing.
 2                                       CONCLUSIONS OF LAW
 3

 4            The ends of justice will be served by granting this continuance as it will enable Defendant

 5     the possibility of preparing for his sentencing more thoroughly.

 6
                                                    ORDER
 7

 8            IT IS HEREBY ORDERED that the sentencing date currently scheduled for 9:00 a.m. on
 9
                                                        February 21
       February 1 2018 be vacated and re-scheduled for _____________, 2018 at ______
                                                                      _____    10:00 ___.m.
                                                                                       a
10

11
       DATED this 25th day of January. 2018.
12

13

14                                                   __________________________________
                                                      UNITED STATES DISTRICT JUDGE
15     Submitted by:
       LAW OFFICE OF JOHN GEORGE
16
       _/s/ John George
17     JOHN G. GEORGE, ESQ.
       Nevada Bar No. 12380
18     820 S 7th Suite B
       Las Vegas, Nevada 89101
19     Telephone:(702) 561-7855
       Facsimile:(702) 446-1577
20     E-mail: johngeorgejr@fastmail.fm
       Attorney for Defendant
21     Ronald Reagan Smith

22

23

24

25

26

27

28

                                                     -4-
     Case 2:16-cr-00052-GMN-CWH            Document 269       Filed 01/30/18     Page 5 of 5



 1                                   CERTIFICATE OF SERVICE
 2     I HEREBY CERTIFY that on the 25th of January, 2018 I served a true and correct copy of the
 3
       foregoing STIPULATION TO CONTINUE SENTENCING addressed to the following counsel
 4
       of record and/or party at the following address:
 5
        _ X _ mandatory electronic service (e-service), via CM/ECF proof of e-service attached to
 6          any copy filed with the Court;
 7            by facsimile transmission, proof of transmission attached to any copy filed with the Court;
              or
 8
              by U.S. Mail: By placing a true copy thereof enclosed in a sealed envelope with postage
 9            thereon fully prepaid, addressed as indicated on the service list below in the United
              States mail at Las Vegas, Nevada to the below address:
10

11     DAYLE ELIESON, ESQ.
       United States Attorney
12     PHILLIP SMITH, ESQ.
       Assistant United States Attorney
13     501 Las Vegas Blvd. South
       Las Vegas, NV 89101
14

15
                                                    _/s/John George_____________________
16                                                  An Employee of
                                                    THE LAW OFFICE OF JOHN G. GEORGE
17

18

19

20

21

22

23

24

25

26

27

28

                                                     -5-
